               Case 22-06364                             Doc 30                Filed 07/06/22 Entered 07/06/22 15:01:24                                                          Desc Main
                                                                                Document     Page 1 of 39
Fill in this information to identify the case:

Debtor name           Nationwide Freight Systems, Inc.

United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)              22-06364
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           854,320.03

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           854,320.03


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,443,589.72


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,398,277.01


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           3,841,866.73




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
             Case 22-06364                  Doc 30      Filed 07/06/22 Entered 07/06/22 15:01:24                                Desc Main
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Fill in this information to identify the case:

Debtor name         Nationwide Freight Systems, Inc.

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)       22-06364
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     TBK Bank                                          Savings                                                                       $15,572.42




          3.2.     PNC National Bank                                                                                                                $7,749.68



4.        Other cash equivalents (Identify all)


          4.1.     Cash Collateral posted with TRIP Captive Insurance Company Bermuda                                                            $183,187.00




          4.2.     Insurance deposits posted with Alera Group                                                                                      $48,000.00




5.        Total of Part 1.                                                                                                                   $254,509.10
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                       page 1
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Debtor           Nationwide Freight Systems, Inc.                                           Case number (If known) 22-06364
                 Name



7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Deposit Prologis- Building Lease                                                                                      $50,653.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                           $50,653.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    495,813.93      -                              6,656.00 = ....                   $489,157.93
                                        face amount                           doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                          $489,157.93
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used     Current value of
                                                                           debtor's interest         for current value         debtor's interest
                                                                           (Where available)

39.       Office furniture

Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor       Nationwide Freight Systems, Inc.                                               Case number (If known) 22-06364
             Name

          Office Furniture, Copiers, Computers                                    $147,039.00       Liquidation                         $15,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $15,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    Warehouse Racking                                                 Unknown        Liquidation                         $20,000.00


          47.2.    Peterbilt Truck Tractors (9 leased)                               Unknown                                                  $0.00


          47.3.    1 International Truck                                             Unknown        Liquidation                         $10,000.00


          47.4.    Chicago Trailer (48 leased)                                       Unknown                                                  $0.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          3 Forklifts                                                                Unknown        Liquidation                         $15,000.00



51.       Total of Part 8.                                                                                                          $45,000.00
          Add lines 47 through 50. Copy the total to line 87.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor        Nationwide Freight Systems, Inc.                                            Case number (If known) 22-06364
              Name

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used    Current value of
           property                              extent of              debtor's interest             for current value        debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Lease 32,000 sqft
                    Office and
                    Warehouse
                    1579 High Point
                    Elgin, IL 60123              Lessee                            Unknown                                                         $0.00




56.        Total of Part 9.                                                                                                                   $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used     Current value of
                                                                        debtor's interest             for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.nationwidefreightsystems.com                                        Unknown                                                         $0.00



62.        Licenses, franchises, and royalties

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                               page 4
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Debtor        Nationwide Freight Systems, Inc.                                             Case number (If known) 22-06364
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           MC number registered with US Department of
           Transportation                                                          Unknown                                                   $0.00


           Warehouse License with Illinois Commerce
           Commission                                                              Unknown                                                   $0.00



63.        Customer lists, mailing lists, or other compilations
           Customer List                                                           Unknown                                                   $0.00



64.        Other intangibles, or intellectual property

65.        Goodwill
           Corporate Good Will                                                     Unknown                                              Unknown



66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 5
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Debtor      Nationwide Freight Systems, Inc.                                        Case number (If known) 22-06364
            Name

         country club membership
         4 Trailers and 1 truck are in the possession of
         Preventative Maintenance Company and are being
         withheld pending payment of certain repair invoices.                                                               Unknown




78.      Total of Part 11.                                                                                                   $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                           page 6
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Debtor          Nationwide Freight Systems, Inc.                                                                    Case number (If known) 22-06364
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $254,509.10

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $50,653.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $489,157.93

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $15,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $45,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $854,320.03           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $854,320.03




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 7
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Fill in this information to identify the case:

Debtor name         Nationwide Freight Systems, Inc.

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number (if known)             22-06364
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Advia Credit Union                           Describe debtor's property that is subject to a lien                 $286,000.00                  Unknown
      Creditor's Name                              PPP Loan to be forgiven
      560 South Riverview
      Parchment, MI 49004
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Forward Financing LLC                        Describe debtor's property that is subject to a lien                 $132,100.00                  Unknown
      Creditor's Name                              Certain Accounts Receivable
      53 State Street
      20th Floor
      Boston, MA 02109
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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Debtor      Nationwide Freight Systems, Inc.                                                       Case number (if known)      22-06364
            Name

          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.3   PNC National Bank                            Describe debtor's property that is subject to a lien                     $640,000.00     Unknown
      Creditor's Name                              All Assets
      1900 Ninth St.
      Cleveland, OH 44114
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.4   PNC National Bank                            Describe debtor's property that is subject to a lien                     $773,000.00     Unknown
      Creditor's Name                              PPP Loan to be forgiven
      1900 Ninth St.
      Cleveland, OH 44114
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.5   SBA                                          Describe debtor's property that is subject to a lien                     $150,000.00     Unknown
      Creditor's Name                              EIDL/All Assets
      14925 Kingsport Rd.
      Fort Worth, TX 76155-2243
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 3
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Debtor       Nationwide Freight Systems, Inc.                                                       Case number (if known)       22-06364
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                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



2.6    Vox Funding                                  Describe debtor's property that is subject to a lien                     $462,489.72             Unknown
       Creditor's Name                              Certain Accounts Receivable
       132 E. 43rd St.
       Suite 311
       New York, NY 10017
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                             $2,443,589.7
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        2

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Martin Wasserman
        Carlson Dash                                                                                          Line   2.3
        216 S. Jefferson St., Suite 504
        Chicago, IL 60661

        Martin Wasserman
        Carlson Dash                                                                                          Line   2.4
        216 S. Jefferson St., Suite 504
        Chicago, IL 60661




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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Fill in this information to identify the case:

Debtor name        Nationwide Freight Systems, Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)           22-06364
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $3,010.22
          3PL Central                                                          Contingent
          100 N. Pacific Coast Hwy                                             Unliquidated
          Suite 1100                                                           Disputed
          El Segundo, CA 90245
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $410.09
          Alpha Graphics                                                       Contingent
          6294 Northwest Hwy                                                   Unliquidated
          Crystal Lake, IL 60014                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $1,279.62
          Amerigas                                                             Contingent
          522 S. Vermont St.                                                   Unliquidated
          Palatine, IL 60067                                                   Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $71,000.00
          Artex Insurance                                                      Contingent
          2850 Golf Rd                                                         Unliquidated
          Rolling Meadows, IL 60008                                            Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 8
                                                                                                          54441
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Debtor      Nationwide Freight Systems, Inc.                                                Case number (if known)            22-06364
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,885.32
         Blue Cross Blue Shield                                       Contingent
         300 S. Randolph                                              Unliquidated
         Chicago, IL 60601                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,597.15
         Blue IP                                                      Contingent
         410 S. Rampart Blvd. Suite 460                               Unliquidated
         Las Vegas, NV 89145                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $259,193.15
         BPREP Randall Point LLC                                      Contingent
         2121 North Pearl St. Suite 1210                              Unliquidated
         Attn Ryan Sole                                               Disputed
         Dallas, TX 75201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,031.00
         Burke Warren MacKay Serritella                               Contingent
         330 N. Wabash Ave. Suite 2100                                Unliquidated
         Chicago, IL 60611                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $458,762.00
         Chicago Trailer Pool                                         Contingent
         9N586 IL-25                                                  Unliquidated
         Elgin, IL 60120                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $955.76
         Cintas Saftey Services                                       Contingent
         5100 26th Ave.                                               Unliquidated
         Rockford, IL 61109                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $16,875.50
         Citi Corp                                                    Contingent
         388 Greenwich St.                                            Unliquidated
         New York, NY 10013                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 8
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Debtor      Nationwide Freight Systems, Inc.                                                Case number (if known)            22-06364
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3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $480.00
         Comcast                                                      Contingent
         1701 JFK Blvd.                                               Unliquidated
         Philadelphia, PA 19103                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $523.95
         ComData IFTA Data Integrator                                 Contingent
         5301 Maryland Way                                            Unliquidated
         Brentwood, TN 37027                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $862.00
         ComEd                                                        Contingent
         440 S. LaSalle St.                                           Unliquidated
         Chicago, IL 60605                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,553.75
         Commercial Tire                                              Contingent
         1105 N. 30th Ave.                                            Unliquidated
         Elgin, IL 60124                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,384.98
         Compass Lease                                                Contingent
         5150 South Lawndale Ave.                                     Unliquidated
         Summit Argo, IL 60501                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $667.00
         DAT                                                          Contingent
         8405 SW Nimbus                                               Unliquidated
         Beaverton, OR 97008                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Software Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $250.00
         Driver Reach                                                 Contingent
         880 Monon Green Blvd.                                        Unliquidated
         Carmel, IN 48032                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Nationwide Freight Systems, Inc.                                                Case number (if known)            22-06364
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3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $32,555.00
         Hamilton Schuyler LLC                                        Contingent
         c/o Ted Myers                                                Unliquidated
         15826 Goham Lane                                             Disputed
         Wadsworth, IL 60083
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,195.00
         Heartland Wisconsin Corp.                                    Contingent
         445 W. Oklahoma Ave.                                         Unliquidated
         Milwaukee, WI 53207                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $59.90
         Hire Right Driver                                            Contingent
         Qualification Services                                       Unliquidated
         25064 Network Place                                          Disputed
         Chicago, IL 60673-1250
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,902.09
         Insurance TPA.com                                            Contingent
         8500 Freeport Pkwy                                           Unliquidated
         Irving, TX 75063                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $872.07
         Lift Truck                                                   Contingent
         761 North 17th St., #14                                      Unliquidated
         Saint Charles, IL 60174                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $8,201.44
         MBR Truck Maintenance                                        Contingent
         121 Josephone Ave.                                           Unliquidated
         South Elgin, IL 60177                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,897.91
         National Financial                                           Contingent
         817 Oak Hollow Rd.                                           Unliquidated
         Crystal Lake, IL 60014                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,062.00
         Nicor Gas                                                    Contingent
         1844 Ferry Rd.                                               Unliquidated
         Naperville, IL 60563                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $120.00
         Orkin                                                        Contingent
         1524 Elmhurst Rd.                                            Unliquidated
         Elk Grove Village, IL 60007                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $86,000.00
         PBK Global Logistics Inc.                                    Contingent
         1579 Highpoint Dr.                                           Unliquidated
         Elgin, IL 60123                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $15,178.62
         Pilot                                                        Contingent
         5508 Lonas Drive                                             Unliquidated
         Knoxville, TN 37909                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $145,003.06
         PNC National Bank                                            Contingent
         1900 Ninth St.                                               Unliquidated
         Cleveland, OH 44114                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,366.53
         Pomps Tire                                                   Contingent
         1301 Busse Rd.                                               Unliquidated
         Elk Grove Village, IL 60007                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,000.00
         Precision Cleaning                                           Contingent
         10458 Oxford Drive                                           Unliquidated
         Huntley, IL 60142                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $35,622.89
         Preventative Maintenance Systems                             Contingent
         36W756 Hickory Hollow Dr.                                    Unliquidated
         Dundee, IL 60118                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,211.03
         Principal Insurance                                          Contingent
         711 High St.                                                 Unliquidated
         Des Moines, IA 50392                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Employee Benefits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $96,000.00
         Prologis                                                     Contingent
         6250 River Rd.                                               Unliquidated
         Rosemont, IL 60018                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $42,000.00
         Robert D. Kuehn                                              Contingent
         430 Oxford Lane                                              Unliquidated
         Crystal Lake, IL 60014                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Loan to Company
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,200.00
         Ryder                                                        Contingent
         14226 Ventura Blvd.                                          Unliquidated
         Sherman Oaks, CA 91423                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $365.46
         SBC                                                          Contingent
         2401 Gardner Rd.                                             Unliquidated
         Broadview, IL 60155                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trash Removal
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,014.35
         Scantek                                                      Contingent
         4530 W. Crystal Lake Rd.                                     Unliquidated
         McHenry, IL 60005                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,218.32
         Secretary of State of Illinois                               Contingent
         100 West Randolph St.                                        Unliquidated
         Chicago, IL 60601                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $17,478.25
         Stassen Insurance Agency                                     Contingent
         1662 S Eastwood Dr.                                          Unliquidated
         Woodstock, IL 60098-1600                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $795.00
         Techpro                                                      Contingent
         2000 Gary Lane                                               Unliquidated
         Geneva, IL 60134                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,000.00
         Thyssenkrupp                                                 Contingent
         305 Corporate Dr.                                            Unliquidated
         Elgin, IL 60123                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,426.98
         Trimble                                                      Contingent
         935 Stuart Rd.                                               Unliquidated
         Sunnyvale, CA 94085                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Transportation Management Software
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,217.54
         Trimble Maps                                                 Contingent
         4400 Baxter                                                  Unliquidated
         Minnetonka, MN 55243                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $579.48
         Verizon                                                      Contingent
         140 West St.                                                 Unliquidated
         New York, NY 10007                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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             Name

3.47      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $7,012.60
          Wentworth Tire                                                       Contingent
          300 N. York Road                                                     Unliquidated
          Bensenville, IL 60106                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.48      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $25,000.00
          Wex Fuel                                                             Contingent
          PO Box 94565                                                         Unliquidated
          Cleveland, OH 44101-4565                                             Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       George Weems
          Ice Miller LLP                                                                            Line     3.7
          2300 Cabot Dr., Suite 455
                                                                                                           Not listed. Explain
          Lisle, IL 60532

4.2       SRA Associates
          112 West Park Dr.                                                                         Line     3.30
          Suite 200
                                                                                                           Not listed. Explain
          Mt. Laurel, NJ 08654


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                           0.00
5b. Total claims from Part 2                                                                           5b.    +     $                   1,398,277.01

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                      1,398,277.01




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 8 of 8
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Fill in this information to identify the case:

Debtor name       Nationwide Freight Systems, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)     22-06364
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease 48 trailers
           lease is for and the nature of
           the debtor's interest

               State the term remaining          contnuous
                                                                                    Chicago Trailer Pool
           List the contract number of any                                          9N586 IL-25
                 government contract                                                Elgin, IL 60120


2.2.       State what the contract or            Lease/Buyout of 9
           lease is for and the nature of        Tractors
           the debtor's interest

               State the term remaining
                                                                                    Heartland Wisconsin Corp.
           List the contract number of any                                          445 W. Oklahoma Ave.
                 government contract                                                Milwaukee, WI 53207


2.3.       State what the contract or            Business Premises
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Prologis
           List the contract number of any                                          6250 River Rd.
                 government contract                                                Rosemont, IL 60018




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Nationwide Freight Systems, Inc.

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS

Case number (if known)   22-06364
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Robert D. Kuehn             430 Oxford Lane                                           Chicago Trailer Pool               D
                                      Crystal Lake, IL 60014                                                                       E/F       3.9
                                                                                                                                   G




   2.2    Robert D. Kuehn             430 Oxford Lane                                           Forward Financing                  D   2.2
                                      Crystal Lake, IL 60014                                    LLC                                E/F
                                                                                                                                   G




   2.3    Robert D. Kuehn             430 Oxford Lane                                           PNC National Bank                  D   2.3
                                      Crystal Lake, IL 60014                                                                       E/F
                                                                                                                                   G




   2.4    Robert D. Kuehn             430 Oxford Lane                                           Vox Funding                        D   2.6
                                      Crystal Lake, IL 60014                                                                       E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Nationwide Freight Systems, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)     22-06364
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $2,398,556.00
      From 1/01/2022 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $5,426,005.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For year before that:                                                               Operating a business                             $5,855,448.00
      From 1/01/2020 to 12/31/2020
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor       Nationwide Freight Systems, Inc.                                                   Case number (if known) 22-06364



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              See Attached                                                                                 $0.00              Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Robert D. Kuehn                                                                      $107,110.00           Compensation
              430 Oxford Lane
              Crystal Lake, IL 60014
              President

      4.2.    Pam Kuehn                                                                             $51,628.75           Compensation


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property

      Preventative Maintenance Systems                 4 Trailers and 1 truck (being withheld for                                                    Unknown
                                                       payment of repair costs)


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address
      7.1.    US Dept of Labor                         Employee                    Employee Benefits Security                      Pending
              vs. Debtor                               Benefits dispute            Admnistration                                   On appeal
                                                                                                                                   Concluded


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              Case title                              Nature of case               Court or agency's name and            Status of case
              Case number                                                          address
      7.2.    IL Dept of Labor                        Wage Dispute                                                            Pending
              v. Debtor                                                                                                       On appeal
              20-001691
                                                                                                                              Concluded


      7.3.    BPREP Randall Point LLC                 Lease/Breach of              Circuit Court of Kane                      Pending
              vs NFS                                  Contract                     County Illinois                            On appeal
              21 L 000111
                                                                                                                              Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss             Value of property
      how the loss occurred                                                                                                                            lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




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                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Burke Warren MacKay                      $42,000.00 was paid by Robert D. Kuehn
                Serritella                               on May 12, 2022 of which $12,000.00 was
                330 N. Wabash Ave. Suite                 applied for legal services rendered in May
                2100                                     2022 leaving an unapplied balance of the
                Chicago, IL 60611                        pre-petition retainer of $30,000.00.                          5/12/2022                 $42,000.00

                Email or website address
                dwelch@burkelaw.com

                Who made the payment, if not debtor?
                Robert Kuehn



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value
      13.1 TRIP Captive Insurance
      .    Company Bermuda                             Cash Collateral posted with TRIP Captive
                                                       Insurance Company Bermuda                                                               $183,187.00

               Relationship to debtor



      13.2 Alera Group                                 Insurance deposits posted with Alera
      .                                                Group                                                                                     $48,000.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                            Dates of occupancy
                                                                                                                   From-To
      14.1.     1385 Madeline Lane                                                                                 8/1/12 - 7/31/20
                Suite 100
                Elgin, IL 60123

Part 8:       Health Care Bankruptcies
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15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Nationwide Freight Systems, Inc. Simple IRA                                         EIN:

                    Has the plan been terminated?
                       No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


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         None

      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None

      Owner's name and address                              Location of the property              Describe the property                                 Value
      See Attached                                                                                Customer cargo in                                     $0.00
                                                                                                  warehouse


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None


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   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Jackie Philp (Former Employee)                                                                                     Left employment on
                                                                                                                                       9/20

      26a.2.        Ben Ortiz (Former Consultant)                                                                                      Left employment
                    CFO                                                                                                                4/21

      26a.3.        Graciano Flores CPA                                                                                                Current
                    (Current Tax Advisor)

      26a.4.        Ted Myers                                                                                                          4/21-3/1/22
                    (Former Independent Contractor)


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        GLM Financial                                                                                                      Current
                    20856 N. Rand Road
                    Kildeer, IL 60010

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        PNC National Bank
                    1900 Ninth St.
                    Cleveland, OH 44114
      26d.2.        Advia Credit Union
                    560 South Riverview
                    Parchment, MI 49004

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.




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             Name of the person who supervised the taking of the                   Date of inventory         The dollar amount and basis (cost, market,
             inventory                                                                                       or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Robert D. Kuehn                        430 Oxford Lane                                     President                               100%
                                             Crystal Lake, IL 60014



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Robert D. Kuehn
      .    430 Oxford Lane
             Crystal Lake, IL 60014                   $107,000.00                                               1/1/21-To Date      Salary

             Relationship to debtor
             President


      30.2 Pam Kuehn                                                                                            1/21/21 - to
      .                                               $51,628.75                                                date                Salary

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund
   Nationwide Freight Systems, Inc. Simple IRA                                                        EIN:


Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              Northern District of Illinois
 In re       Nationwide Freight Systems, Inc.                                                                 Case No.      22-06364
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $       To be determined
             Prior to the filing of this statement I have received                                        $                42,000.00*
             Balance Due                                                                                  $       To be determined

2.    The source of the compensation paid to me was:
                  Debtor             Other (specify):      Robert D. Kuehn

3.    The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 All legal services required for the Debtor.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              N/A
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 5, 2022                                                             /s/ David K. Welch
     Date                                                                     David K. Welch 06183621
                                                                              Signature of Attorney
                                                                              Burke, Warren, MacKay & Serritella, P.C.
                                                                              330 N. Wabash
                                                                              21st Floor
                                                                              Chicago, IL 60611
                                                                              312-840-7122
                                                                              dwelch@burkelaw.com
                                                                              Name of law firm



*$42,000.00 was paid by Robert D. Kuehn on May 12, 2022 of which $12,000.00 was applied for legal services
rendered in May 2022 leaving an unapplied balance of the pre-petition retainer of $30,000.00.
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